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                                         RETURN OF SERVICE

                                 UNITED STATES DISTRICT COURT
                                   SOUTHERN District of Florida
  Case Number: 1:21-CV-23709-MGC

  Plaintiff:
  WILSON VILLA AND OTHER SIMILARLY SITUATED INDIVIDUALS
  vs.
  Defendant:
  TURCIOS GROUP CORP, AND HENRY TURCIOS INDIVIDUALLY,

  For:
  Zandro E. Palma
  THE LAW OFFICE OF ZANDRO E. PALMA, P.A.
  9100 South Dadeland Blvd.
  Suite 1500
  Miami, FL 33156

  Received by Lindsay Legal Services, Inc on the 25th day of February, 2022 at 12:25 pm to be served on
  LEONARDO RODRIGUEZ, 11741 SW 152 PATH, MIAMI, FL 33196.

  I, ARLINE YAGUE, do hereby affirm that on the 15th day of April, 2022 at 2:28 pm, I:

  SUBSTITUTE served by delivering a true copy of SUMMONS IN A CIVIL ACTION and FIRST
  AMENDED COMPLAINT with the date and hour of service endorsed thereon by me, to: Maria Baño as
  Wife at the address of: 12063 SW 131 AVENUE, MIAMI, FL 33196 the within named person's usual place
  of abode, who resides therein, who is fifteen (15) years of age or older and informed said person of the
  contents therein, in compliance with state statutes.

  Additional Information pertaining to this Service:
  2/28/2022 1:15 pm Attempted service at 11741 SW 152 PATH, MIAMI, FL 33196,
  No response at the door car outside
  3/2/2022 10:07 am Attempted service at 11741 SW 152 PATH, MIAMI, FL 33196, spoke with defendant
  over the phone he said he will be @ at his work address 12063 sw 131 ave around 2 pm he gave me his
  #786 252 1284
  3/9/2022 9:08 am Attempted service at 11741 SW 152 PATH, MIAMI, FL 33196, called defendant not
  home at the moment.
  3/15/2022 4:10 pm Attempted service at 11741 SW 152 PATH, MIAMI, FL 33196, spoke with defendant he
  says he’s not home nor in the second address he asked me to call him tomorrow to see if he’s available.
  3/22/2022 12:12 pm Attempted service at 11741 SW 152 PATH, MIAMI, FL 33196, no response at the
  door at this time
  4/1/2022 11:17 am Attempted service at 11741 SW 152 PATH, MIAMI, FL 33196, called subject for service
  no response at this time. Pass by home no Cars outside.
  4/14/2022 8:51 am Attempted service at 11741 SW 152 PATH, MIAMI, FL 33196, knocked on the door, no
  response at this time no cars outside home.
  4/15/2022 1:30 pm Attempted service at 12063 SW 131 AVENUE, MIAMI, FL 33196, car outside, knocked
  on the door no response.
  4/15/2022 2:28 pm Attempted service at 12063 SW 131 AVENUE, MIAMI, FL 33196, one hour surveillance
  served on wife Maria Baño.

  Description of Person Served: Age: 55, Sex: F, Race/Skin Color: Hispanic, Height: 5'6", Weight: 160, Hair:
  Black, Glasses: N
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                         RETURN OF SERVICE For 1:21-CV-23709-MGC




  I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process
  Server, in good standing, in the judicial circuit in which the process was served. Under penalty of perjury, I
  declare that I have read the foregoing documents, and that the facts stated in it are true. NO NOTARY
  REQUIRED PURSUANT TO F.S.92.525(2)




                                                                            ARLINE YAGUE
                                                                            C.P.S # 10038

                                                                            Lindsay Legal Services, Inc
                                                                            7105 SW 8th Street
                                                                            Suite 307
                                                                            Miami, FL 33144
                                                                            (305) 273-0317

                                                                            Our Job Serial Number: RLA-2022000499


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